     Case 2:19-cv-11793-BWA-DPC Document 237 Filed 06/08/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


KATHERINE MUSLOW AND              §
MEREDITH CUNNINGHAM               §                  Civil Action No. 19-11793
                                  §
                     Plaintiffs,  §                  SECTION “M”
v.                                §                  JUDGE BARRY W. ASHE
                                  §
BOARD OF SUPERVISORS OF LOUISIANA §                  MAG. DIV (2)
STATE UNIVERSITY AND AGRICULTURAL§                   MAGISTRATE JUDGE
AND MECHANICAL COLLEGE, THOMAS §                     DONNA PHILLIPS CURRAULT
SKINNER, LARRY HOLLIER, AND JON   §
HARMAN, and                       §
CARLTON “TREY” JONES, III         §
                                  §
                      Defendants.

                                             ORDER

       Considering Plaintiffs’ Motion to Withdraw Motion to Compel Sworn Verifications of

Carlton “Trey” Jones, III, and LSU, it is ORDERED that the Motion is GRANTED and

Plaintiffs’ Motion to Compel is withdrawn.

      Read,
     New    Rendered,
         Orleans,     and Signed
                  Louisiana       in day
                            this 8th  Newof Orleans, Louisiana, this _____ day of
                                            June, 2021.
_________________, 2021.



                                             __________________________________________
                                             HONORABLE DONNA PHILLIPS CURRAULT
                                             UNITED STATES MAGISTRATE JUDGE
